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10
                                      UNITED STATES DISTRICT COURT
11
                            FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
      JAMES WEEKS, individually and on            Case No. 2:19-cv-06780
13    behalf of all others situated;
14                      Plaintiff,                PLAINTIFF’S OPPOSITION TO
15                                                DEFENDANT HOME DEPOT U.S.A.,
               vs.                                INC.’S NOTICE OF MOTION TO
16                                                DISMISS
17
      HOME DEPOT U.S.A., INC., a                  Date: January 30, 2020
18    Delaware corporation, and DOES 1
      through 100, inclusive,                     Time: 10:00 a.m.
19                                                Courtroom: 6D
                        Defendants.
20
                                                  Complaint Filed: August 5, 2019
21                                                Amended Complaint Filed: November 22,
22                                                2019

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 1     I.     Introduction
 2            This is a case about retailer Home Depot’s unfair business practice of selling the
 3    herbicide Roundup directly to consumers despite having knowledge that Roundup’s
 4    active ingredient, glyphosate, has been categorized is a carcinogen.
 5            In 2015 the World Health Organization’s International Agency for Research on
 6    Cancer (IARC) categorized glyphosate as a Class 2A herbicide, which means it is
 7    probably a carcinogen to humans. Additionally, California’s Office of Environmental
 8    Health Hazard Assessment (OEHHA) listed glyphosate as a chemical known to the
 9    State of California to cause cancer. While countries, regions and municipalities
10    around the globe have since banned Roundup, Home Depot has continued selling and
11    promoting Roundup, notwithstanding the absence of any warning about the
12    herbicide’s health risks—such as its link to Non-Hodgkin lymphoma in its users—on
13    the product’s label. Home Depot chose to continue selling Roundup without
14    providing consumers with any additional information about Roundup’s potential
15    health risks (or how to mitigate them) on its store shelves, website or at the point of
16    sale. Accordingly, Plaintiff alleges Home Depot’s conduct constitutes unfair business
17    acts or practices under California’s “notoriously broad” Unfair Competition Law
18    (UCL), Cal. Bus. & Prof. C. §§ 17200, et seq.
19            Defendant’s Motion to Dismiss Plaintiff’s First Amended Complaint is based
20    on a mischaracterization of Plaintiff’s allegations and the case law, and must be
21    denied for the following reasons:
22            Home Depot has not met is heavy burden to establish Plaintiff’s claims are
23    preempted. First Plaintiff’s UCL claim is equivalent to, and entirely consistent with,
24    Federal Insecticide, Fungicide, and Rodenticide Act (FIFRA) misbranding
25    provisions. Moreover, Plaintiff’s claims are premised on Home Depot’s sale of a
26    product it knows to be carcinogenic without warning consumers at the point of sale.
27    Such warnings would not accompany the product to the end user during the period of
28    use and thus cannot constitute “labeling” under FIFRA. Second, the Court should
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 1    reject Defendant’s theory under the doctrine of impossibility preemption. The
 2    Supreme Court has rejected the very arguments Home Depot makes here, most
 3    notably because the plain language of FIFRA demonstrates clear congressional intent
 4    to preserve States’ broad police powers.
 5            Home Depot also argues it is nothing more than a “passive retailer,” and that it
 6    therefore cannot be held liable for omissions on product labels. But retailers do not
 7    enjoy absolute immunity from selling deceptively labeled products as a matter of law;
 8    to the contrary—as is the case here—they can be liable if they know about the
 9    misrepresentations and continue selling the product anyway. Once Defendant knew
10    Roundup was a potential carcinogen and that its label did nothing to warn consumers,
11    it unquestionably had control over whether or not to continue to sell Roundup, and, if
12    so, whether to provide additional information to its own customers.
13            Focusing on the injunctive relief sought (rather than the elements of an ‘unfair’
14    prong UCL claim), Home Depot also disputes one of the two proposed forms of
15    injunctive relief proposed in the First Amended Complaint (FAC), arguing that such
16    an injunction would violate FIFRA and be false and misleading. But this argument
17    fails because Home Depot is not foreclosed from giving consumers additional
18    information about Roundup on store shelves, on its website and at the point of sale,
19    because such information does not constitute “labeling” under FIFRA. Moreover, the
20    Court has broad discretion to fashion an equitable remedy, and exactly what the
21    remedy looks like need not be decided at the pleadings stage. Ultimately, Defendant’s
22    “retailer immunity” arguments go to ultimate factual determinations, leaping over the
23    initial question of whether Plaintiff has stated a plausible claim for relief.
24            Home Depot also contends Plaintiff’s claim is in substance a Proposition 65
25    case. Defendant is wrong. The FAC contains a single cause of action—violation of
26    the UCL’s ‘unfair’ prong—and expressly states that it does not arise under
27    Proposition 65, nor does it seek to vindicate a right created by Proposition 65. The
28    FAC also asserts a duty to not engage in unfair business practices, which is
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  1    independent of Proposition 65.
  2            Next, Home Depot contends the FAC is subject to Rule 9(b)’s heightened
  3    pleading requirement, and falls short of satisfying it. Regardless of whether Plaintiff’s
  4    UCL claim is subject to Rule 9(b), the FAC more than meets the standard. Given the
  5    strictures of the rule are somewhat relaxed for claims based on fraudulent omissions,
  6    and Plaintiff properly identified the “who, what, when, where and how” required by
  7    the Ninth Circuit, Defendant’s argument fails.
  8            Finally, Home Depot’s challenge to Plaintiff’s standing to seek injunctive relief
  9    also misses the mark. Plaintiff has properly alleged a likelihood of suffering future
 10    injury. Specifically, the FAC alleges that Plaintiff may purchase Roundup from Home
 11    Depot again if the retailer discloses the link to cancer and provides information on
 12    how to avoid or mitigate Roundup’s health risks.
 13            The First Amended Complaint sufficiently alleged a plausible claim under the
 14    UCL’s ‘unfair’ prong, and Defendant’s Motion to Dismiss should be denied in its
 15    entirety. Alternatively, Plaintiff seeks leave to amend on any perceived deficiency in
 16    his pleading.
 17   II.      Summary of Relevant Facts
 18             Defendant is a chain of home improvement stores with retail locations
 19    throughout the United States, including California. FAC ¶¶ 9, 15. Defendant is
 20    engaged in the marketing, distribution, and sale of the herbicide Roundup at its retail
 21    locations and on its website. Id. at ¶¶ 2, 9, 16.
 22             Roundup’s active ingredient is glyphosate. Id. at ¶¶ 1, 9, 17. Glyphosate is a
 23    nonselective herbicide that inhibits plant growth through interference with the
 24    production of essential aromatic amino acids. Id. at ¶ 17. It was discovered to be an
 25    herbicide in 1970 and was first brought into the market as Roundup by Monsanto
 26    Company in 1974. Id. Glyphosate is registered with the Environmental Protection
 27    Agency (“EPA”).
 28             In March 2015, the International Agency for Research on Cancer (“IARC”), an
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  1    intergovernmental cancer agency within the World Health Organization (“WHO”) of
  2    the United Nations, was tasked with evaluating the potential carcinogenicity of
  3    glyphosate. Id. at ¶ 20. The IARC’s evaluation was based on a cumulative review of
  4    all publicly available and pertinent scientific studies. Id. at ¶ 21. This followed
  5    decades of studies suggesting glyphosate was linked to cancer in humans. Id. at ¶¶
  6    25-38. The IARC published its findings in July 2015 and classified glyphosate as a
  7    Class 2A herbicide, which means it is probably carcinogenic to humans. It concluded
  8    non-Hodgkin lymphoma was most associated with glyphosate exposure. Id. at ¶¶ 21-
  9    22.
 10             Following the IARC’s report on glyphosate, many countries, regions, and
 11    municipalities throughout the world issued outright bans or restrictions on
 12    glyphosate-based herbicides, including Roundup. Id. at ¶¶ 39-48. In July 2017,
 13    California’s Office of Environmental Health Hazard Assessment (“OEHHA”) listed
 14    glyphosate as a chemical known to the State of California to cause cancer, pursuant
 15    to the Safe Drinking Water and Toxic Enforcement Act of 1986 (“Proposition 65”).1
 16    Id. at ¶ 52. In recent years, Roundup has been the subject of litigation in personal
 17    injury cases. Id. at ¶ 49-51. Three juries have found Roundup likely caused certain
 18    individuals to develop cancer. Id.
 19             Plaintiff asserts Roundup, as formulated, is carcinogenic and “dangerous to
 20    human health.” Id. at ¶ 2. Roundup contains glyphosate, a chemical known to cause
 21    cancer, and adjuvants (specifically, the surfactant POEA (polyoxyethyleneamine))
 22    which “increase[] the toxicity of glyphosate alone.” Id. at ¶ 38. Roundup should not
 23    be sold to consumers absent adequate disclosures of the substantial health risks.
 24

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 26      As discussed more fully herein, the Eastern District Court of California issued a
       preliminary injunction precluding OEHHA from enforcing its Proposition 65
 27    warning requirements against glyphosate registrants. Nat’l Ass’n of Wheat Growers
       v. Zeise, 309 F. Supp. 3d 842 (E.D. Cal. 2018). Notably, the court did not rule
 28    glyphosate should be removed from the Proposition 65 list as a chemical known to
       the State of California to cause cancer.
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  1             Defendant chooses to sell a harmful, carcinogenic product without providing
  2    consumers with any additional information on store shelves, website or at the point
  3    of sale about the products’ potential health risks. Id. at ¶¶ 3, 58, 59. While Defendant
  4    is not responsible for the labeling of Roundup products, “Defendant is responsible for
  5    passing Roundup down the line to consumers by making it available for purchase,
  6    and thus plays an integral role in placing Roundup into the stream of commerce.” Id.
  7    at ¶ 57. “[I]nstead of putting its consumers’ safety first and removing Roundup from
  8    its stores or informing consumers about Roundup’s potential health risks, Home
  9    Depot has continued selling a potentially deadly product for its own direct financial
 10    benefit.” Id. at ¶ 58. Defendant was and is aware of the present and substantial danger
 11    to consumers while using Roundup yet does not inform consumers of the product’s
 12    potential health risks. Id. at ¶ 59.
 13             Plaintiff routinely purchased a Roundup product from a Home Depot store in
 14    Ventura County, California. FAC ¶ 60. At the time of purchase, Defendant did not
 15    provide Plaintiff with any information regarding the carcinogenic nature of Roundup.
 16    Id. at ¶ 61. Defendant could have provided such information by displaying it on the
 17    shelves where Roundup was sold or at the point of sale. Id. at ¶ 62. Had Plaintiff
 18    known of the carcinogenic properties of Roundup and its links to cancer, he would
 19    not have purchased it. Id. at ¶ 63. Plaintiff alleges “he would not purchase Roundup
 20    from Defendant again, unless Defendant discloses the link to cancer and provides
 21    information on how to avoid or mitigate exposure to Roundup’s health risks.” Id. at ¶
 22    64.
 23             Plaintiff asserts a single claim under the “unfair” prong of the Unfair
 24    Competition Law, Cal. Bus. & Prof. Code §§ 17200, et seq. Plaintiff alleges
 25    Defendant’s business practices—which involve selling a harmful, carcinogenic
 26    product to consumers without providing any warning as to its risks—have caused a
 27    substantial injury to consumers that could not have been reasonably avoided and is
 28    not outweighed by any countervailing benefits to consumers or competition. FAC ¶
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  1    81. Plaintiff seeks injunctive relief in the form of an order (1) “enjoining Defendant[]
  2    from engaging in the unfair business practices . . . in connection with the sale of
  3    Roundup” and (2) “requiring Defendant to notify consumers at the point of sale (for
  4    example, through signage on store shelves and on product webpages) that the
  5    glyphosate in Roundup has been linked to cancer in humans.” Id. at ¶ 89.
  6    Additionally, Plaintiff seeks an order awarding Plaintiff and the putative class
  7    restitution of the money wrongfully acquired by Defendant from class members by
  8    means of the unfair business practices alleged herein.
  9   III.     Legal Standard
 10             The purpose of a motion to dismiss is to test the legal sufficiency of the
 11    complaint. When considering such a motion, the factual allegations in the complaint
 12    are assumed true and all reasonable inferences arising therefrom are construed in the
 13    plaintiff’s favor. Erickson v. Pardus, 551 U.S. 89, 93 (2007) (per curium) (citations
 14    and internal quotation marks omitted); Jenkins v. McKeithen, 395 U.S. 411, 421
 15    (1969); Berg v. Popham, 412 F.3d 1122, 1125 (9th Cir. 2005). At this stage of the
 16    proceedings, all that is required of Plaintiff is that the FAC “nudge[s] his claims across
 17    the line from conceivable to plausible.” Bell Atl. Corp. v. Twombly, 550 U.S. 544,
 18    570 (2007). Home Depot largely ignores this standard. Rather than addressing
 19    Plaintiff’s allegations, Home Depot construes disputed facts in its favor and makes
 20    factual assertions beyond those alleged in the FAC. As set forth below, Plaintiff has
 21    satisfied this standard, and Home Depot’s motion should be denied.
 22   IV.      The First Amended Complaint Should Not be Dismissed.
 23            A.       Plaintiff's claim is not preempted by FIFRA.
 24             Defendant cannot meet its considerable burden of establishing Plaintiff’s claim
 25    is expressly preempted by FIFRA. Cortina v. Goya Foods, Inc., 94 F. Supp. 3d 1174,
 26    1186 (S.D. Cal. 2015) (the party who asserts preemption bears the burden of so
 27    demonstrating). To satisfy this burden, Defendant must establish FIFRA’s preemption
 28    of Plaintiff’s claims is “the clear and manifest purpose of Congress.” Medtronic, Inc.
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  1    v. Lohr, 518 U.S. 470, 485 (1996). FIFRA’s preemption provision is fairly narrow in
  2    scope and only preempts state requirements for labeling or packaging that are “in
  3    addition to or different from” those required under FIFRA. 7 U.S.C. § 136v(b). States
  4    are permitted to impose their own labeling requirements, as long as they are
  5    "equivalent to, and fully consistent with, FIFRA's misbranding provisions.” Bates v.
  6    Dow Agrosciences LLC, 544 U.S. 431, 447 (2005).
  7             Defendant argues the FAC is expressly preempted because the EPA registered
  8    glyphosate and approved the Roundup label without a cancer warning and Plaintiff’s
  9    demand for a cancer warning constitutes a labeling requirement “in addition to or
 10    different from” the FIFRA’s requirements. Defendants’ argument should fail because
 11    (1) Plaintiff’s claim does not impose a requirement for labeling or packaging and (2)
 12    Plaintiff’s claim is parallel to FIFRA requirements.
 13                          1. Plaintiff’s claim does not impose a labeling or packaging
                                requirement.
 14
                Defendant mischaracterizes the FAC as imposing a labeling or packaging
 15
       requirement. In reality, Plaintiff alleges Defendant sells Roundup at its retail locations
 16
       and on its website despite knowing that Roundup poses potential health risks. FAC
 17
       ¶¶9, 15, 57-59, 80-86. Plaintiff further contends that, in selling Roundup, Defendant
 18
       does nothing to inform consumers of these risks, and profits handsomely from this
 19
       activity. Id. Plaintiff claims this conduct constitutes an unfair business practice under
 20
       the UCL, and seeks injunctive relief and restitution. Id. at ¶¶78-90. Contrary to
 21
       Defendant’s contention, the injunctive relief Plaintiff describes in the FAC is simply
 22
       “an order of this Court enjoining Defendant[] from engaging in the unfair business
 23
       practices alleged herein in connection with the sale of Roundup” and an order
 24
       “requiring Defendant to notify consumers at the point of sale (for example, through
 25
       signage on store shelves and on product webpages) that the glyphosate in Roundup
 26
       has been linked to cancer in humans.” FAC ¶89. 2
 27

 28
       2
        While Plaintiff may include allegations suggesting potential injunctive relief,
       fashioning injunctive relief after a finding of liability is within the Court’s sole and
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  1             While the FAC does include as one potential remedy an order requiring
  2    Defendant to provide consumers with a “point of purchase shelf-warning” as to
  3    Roundup’s cancer risk, such a warning would not appear on the “packaging,” nor
  4    would it constitute “labeling” as defined under FIFRA. FIFRA defines "labeling" as
  5    the material intended to accompany the herbicide through the streams of commerce.
  6    See 7 U.S.C. § 136(p)(2) (the term "labeling" means “all labels and all other written,
  7    printed, or graphic matter . . . accompanying the pesticide or device at any time; or to
  8    which reference is made on the label or in literature accompanying the pesticide or
  9    device . . . .”). Though broadly phrased, this definition does not encompass all
 10    communications made in connection with the sale or marketing of an herbicide
 11    product. Point-of-sale warnings which are “not attached to the immediate container
 12    of a product and will not accompany the product during the period of use”—such as
 13    the kind sought in Plaintiff’s FAC—are specifically excluded from “labeling” as it is
 14    defined under FIFRA. Chemical Specialties Mfrs. Ass'n, Inc. v. Allenby (9th Cir.
 15    1992) 958 F.2d 941, 946.
 16             The Ninth Circuit in Allenby specifically held FIFRA does not preempt point-
 17    of-sale warnings on products containing carcinogens as mandated by California's
 18    Proposition 65.3 Id. In its reasoning, the court observed:
 19
               FIFRA's definition of labeling cannot encompass every type of written
 20            material accompanying the pesticide at any time. If this were true, then
               price stickers affixed to shelves, sheets indicating that a product is on sale,
 21
               and even the logo on the exterminator's hat would all constitute
 22            impermissible labeling.
 23    Id. The Second Circuit reached the same conclusion in New York State Pesticide
 24    broad discretion.
       3
 25      Proposition 65 provides: “No person in the course of doing business shall
       knowingly and intentionally expose any individual to a chemical known to the state
 26    to cause cancer or reproductive toxicity without first giving clear and reasonable
       warning to such individual.” Cal. Health & Saf. C. § 25249.6. Manufacturers of
 27    consumer products can comply with Proposition 65 by (1) placing the warning
       directly on product labels; (2) displaying the warning on signs at the retail outlet
 28    where the products are sold, known as the "point of sale"; or (3) sending the
       warning to the news media. Cal. Code Regs., tit. 27, § 25603.1.
                                                     8
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                                                          PLAINTIFF’S OPPOSITION TO MOTION TO DISMISS
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  1    Coalition, Inc. v. Jorling, 874 F.2d 115 (2d Cir. 1989), where it refused to construe
  2    the term "labeling" in § 136v(b) to include warnings given to customers who contract
  3    for pesticide services or public notification of pesticide applications. Because a
  4    construction of "labeling" to include anything that could be said to "accompany" a
  5    pesticide would literally include "the logo on the applicator's hat and the license plate
  6    on the vehicle in which the pesticide is transported," the court limited that definition
  7    to material attached to the immediate container or otherwise expected to remain with
  8    the pesticide during the period of use. Id. at 119-20 (quoting letter from EPA's general
  9    counsel). Pursuant to Allenby and Jorling, Plaintiff’s claims are not preempted
 10    because they are premised on Defendant’s sale of a product it knows to be
 11    carcinogenic without warning consumers at the point of sale regarding Roundup’s
 12    carcinogenic nature. Such warnings would not accompany the product to the end user
 13    during the period of use and thus cannot constitute “labeling” under FIFRA.
 14             Defendant relies on distinguishable case law to argue Plaintiffs’ claim is
 15    nonetheless premised on a requirement for labeling or packaging. But unlike
 16    Defendant’s authority, Plaintiff’s claim is directed toward the retailer (Home Depot),
 17    not the manufacturer (Monsanto), and does not compel a change to Roundup’s actual
 18    packaging or labeling. Compare with Mirzaie v. Monsanto Co., No. 15-04361, 2016
 19    U.S. Dist. LEXIS 3816 (C.D. Cal. Jan. 12, 2016) (plaintiff’s claims against
 20    manufacturer seeking label alteration preempted); Taylor AG Indus. v. Pure-Gro, 54
 21    F.3d 555, 561 (9th Cir. 1995) (plaintiff’s claims seeking injunctive relief against the
 22    manufacturer preempted); Wuebker v. Wilbur-Ellis Co., 418 F.3d 883, 886 (8th Cir.
 23    2005) (FIFRA preempts claims which require “manufacturers to label or package
 24    [their product] in a particular way”) (emphasis added). Furthermore, Cippollone v.
 25    Liggett Grp. Inc., 505 U.S. 504 (1992) is wholly irrelevant to FIFRA preemption, as
 26    it pertains instead to the preemptive effect of the Public Health Cigarette Smoking
 27    Act of 1969, which is not at issue here. Plaintiff’s FAC does not impose a labeling or
 28
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  1    packaging requirement against the manufacturer, and thus, is not subject to FIFRA’s
  2    preemption provision.
  3                          2. Plaintiff’s claim is consistent with FIFRA’s requirements.
  4             Even assuming Plaintiff’s FAC posed a challenge to Roundup's product
  5    labeling, it would not be preempted by § 136v(b) as it is equivalent to, and fully
  6    consistent with, FIFRA's misbranding provisions. See e.g., Hardeman v. Monsanto
  7    Co., 216 F. Supp. 3d 1037, 1038 (N.D. Cal. 2016) (“[t]o the extent Hardeman's
  8    failure-to-warn claims attack Roundup's product labeling, they are consistent with
  9    FIFRA”). State tort claims which “enforce a federal requirement ‘[do] not impose a
 10    requirement that is different from or in addition to, requirements under federal law.’”
 11    Bates v. Dow Agrosciences LLC, 544 U.S. 431, 448 (2005) (quoting Medtronic, Inc.
 12    v. Lohr, 518 U.S. 470, 513 (1996) (J. O'Connor, concurring in part and dissenting in
 13    part)). Plaintiff’s UCL claim, which is based on Home Depot’s failure to inform
 14    consumers regarding Roundup’s carcinogenic components (see FAC ¶¶ 80-86),
 15    parallels requirements imposed by FIFRA’s misbranding prohibitions.
 16             FIFRA prohibits the sale or distribution of any pesticide that is misbranded. 7
 17    U.S.C. § 136j(a)(1)(E). An herbicide is misbranded if:
 18
               (F) the labeling accompanying it does not contain directions for use which
 19            are necessary for effecting the purpose for which the product is intended
 20            and if complied with, together with any requirements imposed under
               section 136a(d) of this title, are adequate to protect health and the
 21            environment; [or]
 22
               (G) the label does not contain a warning or caution statement which may
 23            be necessary and if complied with, together with any requirements
 24            imposed under section 136a(d) of this title, is adequate to protect health
               and the environment[.]
 25

 26    7 U.S.C. § 136(q)(1)(F)-(G). Plaintiff’s UCL claim asserts Defendant violated the
 27    UCL’s ‘unfair’ prong because it sold Roundup with knowledge of its health risks
 28    without informing consumers of those risks (including the product’s potentially
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  1    carcinogenic nature). This would constitute misbranding under § 136(q)(1)(F) and
  2    (G). Because Plaintiff's claim is consistent with and indeed equivalent to FIFRA’s
  3    misbranding provision, preemption is not appropriate. Giglio v. Monsanto Co., No.
  4    15cv2279 BTM(NLS), 2016 U.S. Dist. LEXIS 57504, at *6 (S.D. Cal. Apr. 29, 2016)
  5    (“Failure to include a warning regarding known carcinogenic properties of a pesticide
  6    would constitute misbranding under § 136(q)(1)(G). Therefore . . . Plaintiff's failure
  7    to warn claims . . . are not preempted.").
  8            Defendant argues Plaintiff’s claim is nonetheless preempted because EPA has
  9    registered glyphosate and approved Roundup's product labeling. See Motion to
 10    Dismiss (“MTD”) at 10:1-6 (“[W]hen registering the glyphosate products at issue
 11    here, the EPA explicitly addressed the very labeling question Plaintiff raises,
 12    concluded that the absence of a cancer warning does not render the products
 13    misbranded, and required the use of a label that has no cancer warning.”). In support
 14    of this argument, Defendant relies on cases construing the Federal Food, Drug, and
 15    Cosmetic Act, 21 U.S.C. §§ 301, et seq. ("FDCA"), see MTD at 10:7-23 (citing Riegel
 16    v. Medtronic, Inc., 552 U.S. 312 (2008) and Medtronic, Inc. v. Lohr, 518 U.S. 470
 17    (1996))—but the FDCA is not at issue here and has no bearing on FIFRA preemption.
 18    The “scope of FDCA’s preemption clause is much broader than FIFRA’s, prohibiting
 19    ‘any’ requirements as opposed to merely requirements ‘for labeling or packing.’”
 20    Mills v. Giant of Md., LLC, 441 F. Supp. 2d 104, 108 (D.D.C. 2006). And “[t]he
 21    statutory scheme in the FDCA does not contemplate FIFRA's level of state
 22    participation in regulating products within a federal statute's purview.” Ansagay v.
 23    Dow Agrosciences LLC, 153 F. Supp. 3d 1270, 1284 (D. Haw. 2015). Defendant’s
 24    reliance on these cases is misplaced, irrelevant, and should be disregarded.
 25             In any event, Defendant ignores the overwhelming authority that provides an
 26    herbicide’s label can be registered by the EPA yet still violate FIFRA by failing to
 27    provide adequate warnings. 7 U.S.C. §§ 136j(a)(1)(E); Bates, 544 U.S. at 440
 28    (“Because it is unlawful under the statute to sell a pesticide that is registered but
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  1    nevertheless misbranded, manufacturers have a continuing obligation to adhere to
  2    FIFRA's labeling requirements.”). Indeed, FIFRA expressly provides that registration
  3    does not provide a defense to a violation of the statute. 7 U.S.C. § 136a(f)(2) (“[i]n
  4    no event shall registration of an article be construed as a defense for the commission
  5    of any offense under this subchapter”); Sheppard v. Monsanto Co., No. 16-00043
  6    JMS-RLP, 2016 U.S. Dist. LEXIS 84348, at *19 (D. Haw. June 29, 2016) (same);
  7    Giglio v. Monsanto Co., No. 15cv2279 BTM(NLS), 2016 U.S. Dist. LEXIS 57504,
  8    at *5 (S.D. Cal. Apr. 29, 2016) (same). Thus, “the mere fact that the EPA has
  9    approved a product label does not prevent a jury from finding that that same label
 10    violates FIFRA.” Hardemon, 216 F. Supp. 3d at 1038; Blitz v. Monsanto Co., 317 F.
 11    Supp. 3d 1042, 1050 (W.D. Wis. 2018) (“to the extent that defendant is arguing that
 12    the EPA's registration of glyphosate and approval of the Roundup label carry any
 13    preemptive force, defendant is simply mistaken”).
 14             Defendant argues the EPA has consistently determined glyphosate is not a
 15    carcinogen, citing recent assessments evaluating the carcinogenic potential of
 16    glyphosate and the EPA’s August 2019 letter to glyphosate registrants. But
 17    classifications by the EPA do not constitute clear and manifest statements of
 18    Congressional intent that herbicides cannot be challenged as unsafe under state tort
 19    law. Ferebee v. Chevron Chem. Co., 736 F.2d 1529, 1540 (D.C. Cir. 1984) (“The fact
 20    that EPA has determined that Chevron's label is adequate for purposes of FIFRA does
 21    not compel a jury to find that the label is also adequate for purposes of state tort law
 22    as well.”); Arias v. Dyncorp, 517 F. Supp. 2d 221, 229 (D.D.C. 2007) (State
 23    Department's statements regarding safety of herbicide “does not establish a clear and
 24    manifest statement by Congress” that it may not be challenged as unsafe under state
 25    law). Courts have routinely declined “to afford preemptive effect to agency actions
 26    that do not carry the force of law under Mead and its progeny.” Reid v. Johnson &
 27    Johnson, 780 F.3d 952, 964 (9th Cir. 2015).
 28             Moreover, Defendant’s reliance upon EPA “safety” findings is irrelevant and
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                                                    PLAINTIFF’S OPPOSITION TO MOTION TO DISMISS
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  1    improperly based on extraneous matters that should be disregarded by the Court
  2    pursuant to Fed. R. Civ. P. 12(d). “[A] motion to dismiss is not the proper vehicle to
  3    delve into the import of EPA classifications or what EPA representatives have said in
  4    the past, what information they were relying on, and what effect their statements have
  5    on the issues before the Court.” Giglio v. Monsanto Co., No. 15cv2279 BTM(NLS),
  6    2016 U.S. Dist. LEXIS 57504, at *7 (S.D. Cal. Apr. 29, 2016).
  7            B. Plaintiff's claims are not barred by the impossibility preemption
                  doctrine.
  8
                Defendant further argues Plaintiff’s claim is barred under the doctrine of
  9
       impossibility preemption, relying on several cases involving the FDCA. The crux of
 10
       Defendant’s argument is that it cannot comply with both state and federal
 11
       requirements, because the so-called “cancer warning” in Plaintiff’s FAC is at odds
 12
       with EPA’s findings that glyphosate poses no cancer risk to humans. Defendant’s
 13
       argument is without merit because the impossibility preemption doctrine does not
 14
       apply in the context of FIFRA, and even if it did, Defendant fails to satisfy the “clear
 15
       evidence” standard under Wyeth v. Levine, 555 U.S. 555, 568 (2009).
 16
                As an initial matter, Defendant’s impossibility preemption argument was
 17
       considered in Bates and ultimately rejected by the Supreme Court, which declined to
 18
       find an implied preemption doctrine beyond FIFRA’s express preemption provision.
 19
       Both parties in Bates addressed impossibility preemption and “the Bates Court
 20
       rejected impossibility preemption sub silentio.” Ansagay v. Dow Agrosciences LLC,
 21
       153 F. Supp. 3d 1270, 1281 (D. Haw. 2015); see also In re Roundup Prods. Liab.
 22
       Litig., 364 F. Supp. 3d 1085, 1088 (“Although the decision [in Bates] centered on the
 23
       scope of FIFRA's express preemption provision, the implied preemption question was
 24
       also before the court.”). As Justice Thomas noted, “[the Bates] decision thus comports
 25
       with this Court's increasing reluctance to expand federal statutes beyond their terms
 26
       through doctrines of implied pre-emption.” Bates, 544 U.S. at 459 (J. Thomas,
 27
       concurring in judgment and dissenting in part) (emphasis added). Defendant should
 28
                                                  13
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                                                    PLAINTIFF’S OPPOSITION TO MOTION TO DISMISS
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  1    not be able to invoke a doctrine that has been not been recognized (by any court) in
  2    the context of FIFRA.
  3             Furthermore, even assuming the doctrine of impossibility preemption applies,
  4    Defendant cannot satisfy the “clear evidence” standard under Wyeth v. Levine, 555
  5    U.S. 555, 568 (2009). To meet this standard, Defendant would have to demonstrate
  6    the EPA (1) was “fully informed” of the justifications for including a cancer warning
  7    on Roundup products and (2) determined it would not approve such a warning. See
  8    Merck Sharp & Dohme Corp. v. Albercht, 139 S. Ct. 1668, 1676, 1678 (2019).
  9    Defendant relies on the EPA’s scientific reviews of glyphosate’s purported safety and
 10    the EPA’s August 2019 letter to glyphosate registrants to suggest the EPA was fully
 11    informed of Roundup’s potential carcinogenicity and would not approve a cancer
 12    warning on Roundup products. As discussed, these conclusions lack preemptive
 13    effect and fall outside the four corners of the complaint. See Reid, 780 F.3d at 964;
 14    Fed. R. Civ. Proc. 12(d). But in any event, Defendant’s reliance on these materials is
 15    misguided. The EPA’s evaluation of glyphosate is not the same as an evaluation of
 16    the Roundup product itself. In fact, the August 2019 letter on its face expressly
 17    concerns solely “product labels where the only basis of the warning is glyphosate.”
 18    Stowell Decl. Ex. B. Because the EPA is not “fully informed” as to Roundup’s
 19    potential carcinogenicity and has not reached a determination as to Roundup’s
 20    carcinogenicity in particular, Defendant cannot satisfy the “clear evidence” standard
 21    and the impossibility preemption doctrine is not availing.
 22             In the event Plaintiff’s claim is dismissed on the basis of impossibility
 23    preemption, Plaintiff respectfully seeks leave to amend the complaint to include
 24    allegations regarding the genotoxic properties of the surfactants contained in
 25    Roundup.4 For example, the Roundup formulation contains surfactants, most notably
 26    polyethoxylated ethyl amine (“POEA”), which carries added foreseeable risks beyond
 27

 28
       4
        See Fed. R. Civ. P. 15(a)(2) (a court “should freely give leave [to amend] when
       justice so requires.”).
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  1    those associated with the single active ingredient that the EPA considered in its letter,
  2    or in its registration decisions.
  3
               C. Plaintiff properly states a claim against Home Depot under the UCL as
  4               a result of Home Depot’s direct participation in the unfair acts at issue.
  5            Defendant contends that because it did not manufacture Roundup and has no
  6    control over Roundup’s label, it cannot be liable under the UCL as a matter of law.
  7    Defendant is wrong. The notion that it is automatically immune from liability simply
  8    because it did not create the Roundup label is belied by the UCL, relevant case law,
  9    and the facts, including those set forth in the FAC.
 10                     1.       Defendant’s argument is contrary to the broad scope and
                                 purpose of the UCL.
 11
               The UCL is a law enforcement tool designed to protect consumers and deter and
 12
       punish wrongdoing. Lavie v. Procter & Gamble Co., 105 Cal. App. 4th 496, 503
 13
       (2003). The statute “prohibits ‘unfair competition,’ defined as ‘any unlawful, unfair,
 14
       or fraudulent business act or practice and unfair, deceptive, untrue, or misleading
 15
       advertising.” Rubio v. Capitol One Bank, 613 F.3d 1195, 1203 (9th Cir. 2010), cert
 16
       denied, 563 U.S. 918 (2011) (quoting Cal. Bus. & Prof. C. §17200). Each type of
 17
       wrongful conduct is recognized as distinct from the others and is independently
 18
       actionable. Cel-Tech Comm, Inc. v. Los Angeles Cellular Tel. Co., 20 Cal. 4th 163,
 19
       180 (1999). Here, Plaintiff’s claim is based on the ‘unlawful’ prong. FAC ¶¶78-90.
 20
                “The standard for finding an ‘unfair’ practice in a consumer action is
 21
       intentionally broad, thus allowing courts maximum discretion to prohibit new
 22
       schemes to defraud.” Candelore v. Tinder, Inc., 19 Cal. App. 5th 1138 (2018)
 23
       (internal quotations omitted). See also Flamingo Indus. (USA) Ltd. v. United States
 24
       Postal Service, 302 F.3d 985, rev’d on other grounds (9th Cir. 2002) (UCL “is a
 25
       notoriously broad statute”). There is no definition of an ‘unlawful’ business practice
 26
       under the UCL in the consumer context, but courts use one of three tests to determine
 27
       whether conduct is unfair under the UCL: (1) the balancing test set forth in S. Bay
 28
                                                    15
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  1    Chevrolet v. General Motors Acceptance Corp., 72 Cal. App. 4th 861 (1999), which
  2    weighs “the practice’s impact on its alleged victim, balanced against the reasons,
  3    justifications, and motives of the alleged wrongdoer.”; (2) the tethering test set forth
  4    in Cel-Tech, 20 Cal. 4th at 184, which defines ‘unfair’ to mean, in relevant part,
  5    conduct that “threatens an incipient violation of an antitrust law, or violates the policy
  6    or spirit of one of those laws because its effects are comparable to or the same as a
  7    violation of the law, or otherwise significantly threatens or harms competition"; and,
  8    (3) the “FTC Test” set forth in Camacho v. Automobile Club of Southern California,
  9    142 Cal. App. 4th 1394 (2006), which considers whether there is a substantial
 10    consumer injury that is not outweighed by any countervailing benefits to consumers
 11    or competition, and which could not reasonably have been avoided by the consumers
 12    themselves.5 “[A]dopting one standard does not necessitate rejection of the other.”
 13    Lozano v. AT&T Wireless Servs., 504 F.3d 718, 736 (9th Cir. 2007).
 14             Though Defendant’s motion does not evaluate Plaintiff’s claims using any test,
 15    the FAC properly alleges Defendant’s conduct is unfair under all three. FAC ¶¶ 81-
 16    83 (alleging, for example, that Home Depot’s conduct has caused a substantial injury
 17    to consumers that could not have been reasonably avoided and is not outweighed by
 18    any countervailing benefits to consumers or competition).
 19            Finally, it is well established that the UCL “in no way limit[s] liability to a
 20    particular category of defendants.” Adams v. Target Corp., Case No. 13-5944-GHK
 21    (PJWx), 2014 U.S. Dist. LEXIS 15114, *14 (C.D. Cal. March 3, 2014. Cal. Bus. &
 22    Prof. C. §17203 (“[a]ny person who engages, has engaged, or proposes to engage in
 23    unfair competition may be enjoined in any court of competent jurisdiction”).
 24                      2.       Defendant’s argument is contrary to the facts alleged and
                                 applicable case law.
 25
               Defendant’s argument that it is “nothing more than a passive retailer” and
 26
       therefore cannot be held liable under the UCL as a matter of law is unsupported by
 27
       5
 28     See also Hodson v. Mars, Inc., 891 F.3d 857, 865 (9th Cir. 2018) (discussing the
       definition of ‘unfair’ as it relates to conduct against consumers).
                                                      16
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                                                        PLAINTIFF’S OPPOSITION TO MOTION TO DISMISS
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  1    any authority and ignores Plaintiff’s factual allegations.
  2            As an initial matter, contrary to Defendant’s assertion, Plaintiff’s legal theory in
  3    no way involves Home Depot being vicariously liable or somehow responsible for
  4    the information contained on the Roundup labels. See MTD at 13. While Plaintiff
  5    does allege Defendant is not involved in the manufacture and design of the Roundup
  6    products and did not control the information on the label (FAC ¶¶ 3, 57), Plaintiff
  7    goes on to allege that Defendant is directly liable under the UCL because it knew
  8    Roundup posed a health risk to consumers yet continued to sell it (without warning
  9    consumers on its store shelves, website or at the point of sale) and reaped profits as a
 10    result of that activity. FAC ¶¶ 3, 4, 57-62, 80-86.
 11            It is well settled that a retailer of a third party’s goods may be liable under the
 12    UCL, even where the retailer is not the originator or creator of the unlawful practices.
 13    See Dorfman v. Nutramax Labs., Inc., 2013 U.S. Dist. LEXIS 136949 (S.D. Cal. Sept.
 14    23, 2013) (Wal-Mart and Rite-Aid could be subject to UCL liability for marketing
 15    and selling products deceptively packaged by manufacturer); Herron v. Best Buy Co.,
 16    Inc., 924 F. Supp. 2d 1161, 1169 (E.D. Cal. Feb. 14, 2013) (action may proceed
 17    against manufacturer and retailer regarding misrepresentations by retailer about
 18    laptop battery life)6; Soto v. Superior Telecomm’n, Inc., 2011 U.S. Dist. LEXIS
 19    145205 (Dec. 15, 2011) (certifying consumer class in UCL action against retail seller
 20    of prepaid calling cards).
 21             The Hon. George H. King’s opinion in Adams is instructive. There, the plaintiff
 22    alleged the retailer Target sold Banzai-brand inflatable pools that allegedly used
 23    deceptive images on their product packaging. Id. at *2. In moving to dismiss, Target
 24    argued the plaintiff cannot allege Target was sufficiently involved in the deceptive
 25    images on the pools’ packaging. Id. at 12. The Court found the argument was
 26    6
         Defendant cites to Herron in support of its motion (MTD at 15), but the factors in
 27    in Herron actually demonstrate the validity of Plaintiff’s claims. Unlike the
       manufacturer in Herron (who merely did not correct or police Best Buy’s
 28    representations regarding its product), Home Depot here has control over which
       products it chooses to sell, and how to encourage or promote those sales.
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  1    meritless given the complaint alleged Target received notice of the deception and
  2    continued selling the deceptively-labeled pools thereafter. Id. at *2. Here, like Target,
  3    Home Depot was aware of Roundup’s danger to consumers. FAC ¶59. “Once it had
  4    this knowledge, it unquestionably had control over whether or not to continue to sell
  5    the [Roundup] products.” Adams at 2014 U.S. Dist. LEXIS 15114, *13. Indeed,
  6    Defendant’s “decision to continue to sell the products may raise an inference of
  7    participation or in adoption of the deceptive practices.” Id.
  8            In re Hydroxycut Mtg. & Sales Practices Litig., 801 F. Supp. 2d 993, 1012 (S.D.
  9    Cal. 2011), on which Defendant heavily relies, is distinguishable on its facts. There,
 10    consumers sued the manufacturer of a dietary supplement and retailers who sold the
 11    supplement, alleging the deceptive marketing and advertising regarding the
 12    supplement’s efficacy violated various consumer protection statutes. The court
 13    dismissed (with leave to amend) the plaintiffs’ claims against the retailer defendants
 14    because the plaintiffs failed to allege facts establishing they “somehow participated
 15    in, controlled, or adopted the deceptive advertising.” Id. at 1012-103.
 16             In contrast, here, Plaintiff alleges Home Depot “participated in” or “controlled”
 17    the challenged conduct—selling Roundup despite its knowledge it is potentially
 18    carcinogenic. See, e.g., FAC ¶57 (“Defendant is responsible for passing Roundup
 19    down the line to consumers by making it available for purchase, and thus plays an
 20    integral role in placing Roundup into the stream of commerce”); ¶58 (“instead of
 21    putting its consumers’ safety first and removing Roundup from its stores or informing
 22    consumers about Roundup’s potential health risks, Home Depot has continued selling
 23    a potentially deadly product for its own direct financial benefit.”); ¶59 (Defendant
 24    “has not alerted consumers of [Roundup’s] potential health risks”); ¶84 (Defendant
 25    has a “position in the marketplace to exert pressure on the makers of Roundup to
 26    include appropriate health and safety warnings on its labels”); ¶85 (“Defendant is in
 27    a position to protect consumers from the risks of Roundup by simply providing a point
 28    of purchase shelf warning”).
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  1            Defendant further contends Plaintiff fails to allege Defendant has control over
  2    the information on store shelves or at the point of sale, but such control is implied by
  3    the above allegations. Defendant reiterates its argument that EPA-regulated
  4    “labeling” includes shelf tags and information provided at the point of sale. MTD at
  5    15. Defendant is wrong. As explained in section IV(A) above, information which is
  6    “not attached to the immediate container of a product and will not accompany the
  7    product during the period of use”—such as the kind sought in Plaintiff’s FAC—are
  8    specifically excluded from “labeling” as it is defined under FIFRA.
  9            As also explained above, the “cancer warning Plaintiff seeks” is but one
 10    suggestion for injunctive relief; Plaintiff also seeks a broader injunction to enjoin
 11    Defendant from “engaging in the unfair business practices alleged herein in
 12    connection with the sale of Roundup.” FAC ¶89. Fashioning equitable relief is
 13    ultimately within the Court’s discretion, after liability is established. See Cal. Bus. &
 14    Prof. C. 17203. (“The court may make such orders or judgments . . . as may be
 15    necessary to prevent the use or employment by any person of any practice which
 16    constitutes unfair competition”).
 17            Thus, Home Depot’s arguments that it enjoys absolute immunity as a retailer
 18    and that the FAC should be evaluated based on the relief proposed in the pleadings
 19    (rather than the merits of his claims) must be rejected at this point in the litigation.
 20            D. Plaintiff’s claim does not implicate Prop. 65.
 21             Plaintiff’s FAC is premised on Defendant’s violation of the “unfair” prong of
 22    the UCL—not on Proposition 65 as Defendant contends. Plaintiff has stated a claim
 23    under the “unfair” prong by alleging Defendant’s business practices—which involve
 24    selling a harmful, potentially carcinogenic product to consumers without providing
 25    any warning as to its risks—have caused a substantial injury to consumers that could
 26    not have been reasonably avoided and is not outweighed by any countervailing
 27    benefits to consumers or competition. See FAC ¶ 81; see Camacho v. Automobile
 28    Club of Southern California 142 Cal. App. 4th 1394, 1403–1405 (2006) (defining
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  1    “unfair” business practices under the UCL). Plaintiff’s FAC “does not arise under
  2    Proposition 65, nor does it seek to vindicate a right created by Proposition 65.” FAC
  3    ¶56.
  4             Defendant nevertheless insists Plaintiff’s UCL claim arises under Proposition
  5    65 “because [Plaintiff] alleges Defendant is liable for not issuing a cancer warning
  6    for Roundup’s active ingredient (glyphosate).” MTD at 16. Defendant argues
  7    Plaintiff’s claim is thus barred because (1) Plaintiff failed to provide statutory notice
  8    pursuant to Cal. Health & Safety C. section 25249.7(d)(1) and (2) Proposition 65
  9    claims based on the absence of a cancer warning for glyphosate are enjoined by the
 10    preliminary injunction issued in Nat’l Ass’n of Wheat Growers v. Zeise, 309 F. Supp.
 11    3d 842 (E.D. Cal. 2018). Defendant’s arguments are without merit. Plaintiff’s FAC
 12    expressly disclaims any violation of Proposition 65 and asserts Home Depot has an
 13    obligation to inform consumers that is independent of Proposition 65’s requirements.
 14    It is therefore is not subject to Proposition 65’s statutory notice requirement nor the
 15    Wheat Growers injunction.
 16             The relevant question is whether Plaintiff’s FAC is “entirely derivative of an
 17    unspoken Proposition 65 violation, or whether [it] assert[s] claims independent of
 18    Proposition 65." Sciortino v. PepsiCo, Inc., 108 F. Supp. 3d 780, 792 (N.D. Cal.
 19    2015). The Sciortino court addressed this question in the context of two complaints
 20    brought under the Consumer Legal Remedies Act, Cal. Civ. C. § 1750, et seq. (the
 21    “CLRA”) and the UCL, based on Pepsi’s alleged failure to disclose the presence of
 22    4-MEI, a Proposition 65-listed carcinogen, in its beverages. Id. The “Ibusuki
 23    Complaint” was found to “plead around Proposition 65” because his claims under the
 24    CLRA and UCL "referred to no other alleged misstatements other than the failure to
 25    warn under Proposition 65.” Id. at 793. The court dismissed the Ibusuki Complaint
 26    for failure to comply with Proposition 65’s statutory notice requirement. The “Hall
 27    Complaint,” by contrast, was found not to plead around Proposition 65, because it
 28    "expressly disclaimed any Proposition 65 violation” and alleged misrepresentations
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  1    that were "not literally based upon a violation of Proposition 65." Id. at 794.
  2    Specifically, Hall alleged that “Pepsi should have disclosed the presence of 4-MeI in
  3    the Pepsi Beverages irrespective of Proposition 65, including e.g., in its advertising
  4    and public statements." Id. Because Hall asserted a legal duty independent of the
  5    requirements of Proposition 65, the court declined to dismiss her complaint. Id.
  6             Here, the FAC is akin to the Hall Complaint in Sciortino. Plaintiff expressly
  7    disclaims any Proposition 65 violation in his FAC and does not assert a UCL
  8    “unlawful” claim predicated on a Proposition 65 violation. See FAC ¶ 56. This fact
  9    alone makes this case distinguishable from In re Vaccine Cases, 134 Cal. App. 4th
 10    438 (2005), where the plaintiff’s UCL claim was exclusively based on the defendants’
 11    violations of Proposition 65. Moreover, Plaintiff’s claim is “not literally based upon
 12    a violation of Proposition 65.” Sciortino, 108 F. Supp. 3d at 794. Plaintiff alleges
 13    could have stopped selling Roundup or, in continuing to distribute the product,
 14    Defendant should tell consumers that Roundup itself is carcinogenic (FAC ¶ 81) not
 15    merely that it contains a chemical known to the State of California to cause cancer
 16    (see Cal. Health & Saf. C. § 25249.6). As discussed herein, the Roundup formulation
 17    contains surfactants, like POEA, which are known to change “human cell
 18    permeability and increase[] the toxicity of glyphosate.” FAC ¶ 38. Thus, it is the
 19    Roundup formulation, not just the inclusion of glyphosate alone, that renders the
 20    product carcinogenic.
 21             For these reasons, the FAC asserts a duty to disclose that is independent of
 22    Proposition 65. See Harris v. R.J. Reynolds Vapor Co., No. 15-cv-04075-JD, 2016
 23    U.S. Dist. LEXIS 152780, at *6 (N.D. Cal. Sept. 30, 2016) (“a duty to disclose a
 24    Proposition 65 listed chemical may arise independent of Proposition 65 if a plaintiff
 25    identifies a legal duty beyond the omission of the required health-warning label.”).
 26    Because Plaintiff’s FAC is “not wholly derivative of a Proposition 65 warning
 27    violation, . . . [Plaintiff] did not ‘commence’ an action ‘pursuant to’ Proposition 65”
 28    and is not bound by its statutory notice requirement. Sciortino, 108 F. Supp. 3d at
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  1    794; Cal. Health & Safe. C. § 25249.7(d)(1). Furthermore, the FAC is not enjoined
  2    by the injunction set forth in Wheat Growers, as it does not seek to enforce Proposition
  3    65.
  4            E. Plaintiff satisfies Rule 9(b)’s heightened pleading standard.
  5             Claims grounded in fraud or mistake are subject to Rule 9(b)’s requirement that
  6    a complaint “state with particularity the circumstances regarding fraud or mistake.”
  7    Fed. R. Civ. P. 9(b). To meet this prerequisite, allegations of fraud “must be specific
  8    enough to give defendants notice of the particular misconduct which is alleged to
  9    constitute the fraud charged so that they can defend against the charge and not just
 10    deny that they have done anything.” Bly-Magee v. California, 236 F.3d 1014, 1019
 11    (9th Cir. 2001) (citations and internal quotation marks omitted). Averments of fraud
 12    must be accompanied by ‘the who, what, when, where, and how’ of the misconduct
 13    charged.” Vess v. Ciba-Geigy Corp. USA, 317 F.3d 1097, 1106 (9th Cir. 2004)
 14    (quoting Cooper v. Pickett, 137 F.3d 616, 627 (9th Cir. 1997).
 15             The strictures of Rule 9(b) are somewhat relaxed for claims based on fraudulent
 16    omission or concealment, rather than affirmative misrepresentations or deceptive
 17    conduct, because “a plaintiff cannot plead either the specific time of [an] omission or
 18    the place, as he is not alleging an act, but a failure to act.” Miscellaneous Service
 19    Workers, etc. v. Philco-Ford Corp., WDL Div., 661 F.3d 776, 782 (9th Cir. 1981).
 20    The cases cited by Home Depot are, therefore, distinguishable, as the plaintiffs in
 21    each of those cases challenge express statements made in various formats and
 22    locations without alleging which ones they actually saw or relied on. MTD at 20
 23    (citing In re Arris Cable Modem Consumer Litig., No. 5:17-CV-08134-LHK, 2018
 24    288085 (N.D. Cal. Jan. 4, 2018) (plaintiff challenged “a range of statements” made
 25    on Arris’ website, Amazon.com and product’s packaging without specifying which
 26    ones plaintiff saw or relied on); Tabler v. Panera LLC, No. 19-CV-01646-LHK, 2019
 27    U.S. Dist. LEXIS 187694 (N.D. Cal. Oct. 29, 2019) (plaintiff challenged
 28    representations on “bags, signs, and labels throughout Panera’s physical locations”
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  1    without identifying which statements she actually relied on)). The FAC “can succeed
  2    without the same level of specificity required by a normal fraud claim.” Cooper v.
  3    Pickett, 137 F.3d 616, 627 (9th Cir. 1997).
  4             Plaintiff’s complaint does not allege Home Depot engaged in fraudulent
  5    conduct, nor is it an essential element of his UCL claim. See Vess, 317 F.3d at 1104
  6    (reversing dismissal of UCL claims under 9(b) because those claims did not solely
  7    depend on averments of fraud). Nonetheless, the FAC easily satisfies the heightened
  8    pleading requirements applicable to omission-based claims. Specifically, Plaintiff has
  9    identified the “who” (Home Depot); the “what” (Defendant’s knowledge about
 10    Roundup’s potential health risks and selling it without informing consumers of the
 11    risks, and reaping profits based on this activity) (FAC ¶¶9, 15, 57-59, 80-86); the
 12    “when” (since at least 2015—when the IARC classified Roundup as a Class 2A
 13    herbicide and other countries began banning glyhphosate-based herbicides—to the
 14    present day) (FAC ¶¶63, 20-24, 39-48); the “where” (Home Depot should have placed
 15    warnings on store shelves and/or at the point of sale) (FAC ¶¶63, 85); and the “how”
 16    (had Plaintiff known of Roundup’s carcinogenic properties, he would not have
 17    purchased it from Home Depot) (FAC ¶¶63, 87-88). This is more than sufficient to
 18    give Home Depot fair notice of the particular misconduct forming the basis of
 19    Plaintiff’s claims, and, thus, satisfies the standards set forth in Rule 9(b).
 20            F. Plaintiff has Article III standing to seek injunctive relief.
 21            Defendant contends Plaintiff lacks standing to seek injunctive relief because he
 22    does “not allege that he has any future intention to buy Roundup” and “has no
 23    plausible basis to assert a likelihood of future deception.” Defendant’s argument
 24    misreads the FAC and Davidson v. Kimberly-Clark Corp., 889 F.3d 956 (9th Cir.
 25    2018).
 26            Davidson’s holds that "a previously deceived consumer may have standing to
 27    seek an injunction against false advertising or labeling, even though the consumer
 28    now knows or suspects that the advertising was false at the time of the original
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  1    purchase, because the consumer may suffer an "actual and imminent, not conjectural
  2    or hypothetical" threat of future harm." Id. at 969. “Knowledge that the advertisement
  3    or label was false in the past does not equate to knowledge that it will remain false in
  4    the future.” Id. Davidson illustrates this point with the following example: “the threat
  5    of future harm may be the consumer's plausible allegations that she might purchase
  6    the product in the future, despite the fact it was once marred by false advertising or
  7    labeling, as she may reasonably, but incorrectly, assume the product was improved.”
  8    Id.
  9             Here, Plaintiff alleges he may purchase from Home Depot Roundup again if
 10    “Defendant discloses the link to cancer and provides information on how to avoid or
 11    mitigate to Roundup’s health risks.” FAC ¶ 64. This allegation demonstrates Plaintiff
 12    intends to purchase Roundup in the future. Lilly v. Jamba Juice Co., No. 13-cv-02998-
 13    JST, 2015 U.S. Dist. LEXIS 34498, at *13 (N.D. Cal. Mar. 18, 2015) (“a willingness
 14    to consider a future purchase is sufficient.”). Assuming Defendant did disclose
 15    Roundup’s known cancer risks and provided information on how to mitigate the risk
 16    of exposure, Plaintiff may still be deceived if Plaintiff “reasonably, but incorrectly”
 17    trusted these additional disclosures and those disclosures turned out to be inadequate.
 18    This would demonstrate “‘a sufficient likelihood that he will again be wronged in a
 19    similar way.’” Davidson, 889 F.3d at 967 (quoting City of Los Angeles v. Lyons, 461
 20    U.S. 95, 102 (1983)).
 21              Plaintiff has alleged a likelihood of purchasing Roundup from Home Depot in
 22    the future, and may again fall victim to Home Depot’s unfair business practices.
 23    Plaintiff has, therefore, met the threshold for demonstrating Article III standing for
 24    injunctive relief.
 25    V.      CONCLUSION
 26            Based on the forgoing, Home Depot's motion should be denied in its entirety. In
 27    the alternative, Plaintiff respectfully requests leave to file a Second Amended
 28    Complaint to correct or clarify any perceived deficiencies.
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  1    Dated: January 9, 2020                  Respectfully submitted,

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                                               Counsel for Plaintiff and the Proposed Class
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